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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-01987-MEH

ERIC TYLER VETTE,

       Plaintiff,

v.

K-9 UNIT DEPUTY SANDERS,

      Defendant.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, United States Magistrate Judge, on February 11, 2022.

        Upon Magistrate Judge Tafoya’s retirement, this matter was reassigned to this judicial
officer. ECF 96. Following a conversation with the parties, the Court will reset the one-day bench
trial and final pretrial/trial preparation conference in accordance with availability on this Court’s
calendar. Accordingly, the final pretrial/trial preparation conference set for March 30, 2022 is
vacated and rescheduled for April 7, 2022 at 12:30 p.m., and the one-day bench trial set for April
26, 2022 is vacated and rescheduled for April 29, 2022 at 9:00 a.m. The Court will issue a
separate Trial Procedures Order that will provide additional details, including relevant deadlines.
